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                                            No. 16-357C
                                       Fifed: March 25,2016
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     KENNETH      LESLIECALDWELL,                *                  U.S. COURT OF
                                                                   FEDERAT CI.AIMS
                             Plaintiff,          *

                    v.


     UNITED STATES,

                           Defendant,            *
     ***************

          Kenneth Leslie Caldwell, Billings, MT, pro se.



                                               ORDER
HORN. J.

                                       FINDINGS OF FACT


      The plaintiff, Kenneth Leslie Caldwell, filed a pro se complaint, in this court on
March 21, 2016. Plaintiffs complaint begins:

         Pro se litigant Kenneth Leslie Caldwell presents this complaint against the
         United States regarding violations of the Civil Rights Act of 1964, 42 U.S.C.
         $ 2000a, violations of the Privacy Act of 1974, 5 U.S.C. g 552a, and
         violations of the Sth and 8th Amendments to the United States Constitution.
         The plaintiff wants money and preliminary injunction(s).

Plaintiff s complaint states that "[t]he plaintiff knows if there is refusal to take notice of
important subject matter because of discrimination, it is contrary to the Anti-Discrimination
Act of 1964, 42 U.S.C. g 2000a.{ Of note, plaintiff continues: "The plaintiff knows it is

1   Plaintiff's complaint also alleges that:

         The plaintiff knows that in 42 U.S.C. g 2000a (d)      it is stated that
         discrimination or segregation by an establishment is supported by State
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possible illegal aliens are in place of people who pretend to be citizens. The plaintiff also
knows it is possible illegal aliens do illegal things in different sectors of industry. lf illegal
activities of illegal aliens are ignored, harm is possible."

       Plaintiff also alleges that: "The plaintiff knows it is stated that no person shall be
deprived of life, liberty, or property in the Sth Amendment to the United States
Constitution. The plaintiff knows that late responses and/or other events presented in this
complaint are violations of the 5th Amendment."2

       In addition to the Civil Right Act and the Fifth Amendment, plaintiff cites to the
Eighth Amendment to the United States Constitution, indicating that:

       The plaintiff knows it is stated in the 8th Amendment to the United States
       Constitution that excessive bail shall not be required and that there should
       not be infliction of cruel and unusual punishments. The plaintiff alleges
       excessive bail or cruel and unusual punishment was imposed when he was
       held in a case of which the plaintiff knows was based on false statements,
       where no one was hurt physically, but had charges which if he were
       convicted would serve a minimum mandatory of 15 years if convicted. The
       plaintiff knows he stated it was of national importance that he be released,
       but bail remained at $75,000 and the plaintiff was not released. The plaintift
       knows this could be cruel and unusual because the plaintiff has seen more
       than one case from the same county that involved a threat or even
       successful weapon attack which did not show the oerson arresled to have
       the charge of the weapon enhancement charge that carries a minimum of
       15 years mandatory upon conviction.

       Despite the foregoing, it appears that an allegation in the complaint important to
the plaintiff is that: "The plaintiff knows that in 2015, medical records of the plaintiff were
given to attorneys of a defendant without the plaintiffs consent because he did not sign
anything regarding the release of his health records except possibly in August 2015 if he
signed to receive them himself." Plaintiff also alleges that, "[t]he plaintiff knows that the


       action within the meaning of this subchapter if such discrimination or
       segregation ( 1) is carried on under color of any law, statute, ordinance, or
       regulation; or (2) is carried on under color of any custom or usage required
       or enforced by officials of the state or political subdivision thereof; or (3) is
       required by action of the State or political subdivision thereof. The plaintiff
       alleges that this law is relevant because the events that are described in
       this complaint involve the courts which might be considered public because
       they are used by the public. The plaintiff alleges other provisions of the Civi
       Rights Act of 1964, 42 U.S.C. g 2000a, might also be relevant.

2 lt not clear from the complaint how any late responses would violate the Fifth
Amendment, but plaintiff refers to numerous other lawsuits he filed and alleges the other
party either responded to his filings late or not at all.
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documentation of his health information remained public until 112112016. lt might still be
available to the oublic."

        Regarding the merits of plaintiffs claims, the complaint states that:

        The plaintiff knows that his complaint should not be denied for being
       frivolous, lacking merit, not having jurisdiction, having improper venue, or
       failure to state a grounds for relief, because the case is important if not for
       the life of the plaintiff, or for the life of others, is important because the very
       foundation of freedom and liberty in America is at risk of being broke down.

The complaint continues, "[t]he plaintiff had difficulty finding citation(s) that apply to this
case. The process of searching for relevant citations was time consuming. lt is a request
to the court that any lack of citations be overlooked because statutes and facts are clearly
legible, the plaintiff knows this case is important, and situations may be unprecedented."3
For damages, "[t]he total amount of money the plaintiff demands for an instant preliminary
injunction is $200,000, because inefutable evidence for violations of the privacy Act of
1976, 5 U.S.C. 552a exists. lt is important to the plaintiff that this be expedited. The
plaintiff wants money and hopes that it can be given by ex parte order."

        Plaintiff further indicates "[t]he plaintiff hopes for all the money he is entitled to. A
bank account number of the plaintiff with the routing number is submitted with this
Complaint for the deposit of $100,000 of the $200,000 preliminary injunction. The plaintiff
has no preference on how he receives all remaining funds, as long as they are received
in an expedited manner." In addition, plaintiff states that "[t]he plaintiff endures duress
and sets forth a demand for judgment against the United States to have a permanent
injunction to not be arrested, equivalent to diplomatic immunity. The plaintiff hopes the
injunction can be granted by ex parte order as soon as possible."

                                        DtscussroN

       The court recognizes that plaintiff is proceeding pro se, without the assistance of
counsel. When determining whether a complaint filed by a pro se plaintiff is sufficient to
invoke review by a court, pro se plaintiffs are entitled to liberal construction of their
pleadings. See Haines v. Kerner, 404 U.S. 519, 520-21 (requiring that allegations
contained in a pro se complaint be held to "less stringent standards than formal pleadings
drafted by lawyers"), reh'q denied, 405 U.S. 9a8 (972); see also Erickson v. Pardus, 551
U.S. 89, 94 (2007); Huqhes v. Rowe, 449 U.S. 5, 9-10 (1980); Estelle v. Gambte, 429

3 Plaintiff also   emphasizes in capital lefters: "SOMETHING MUST BE DONE.'
(capitalization in original). Plaintiff also emphasizes that "[t]he plaintiff knows that it is
possible that a complete lack of compassion exists for human life if it involves the plaintiff
having success, which would be contrary to law. The plaintiff knows it is possible that no
matter what, the plaintiff will lose if there exists an enemy that has power to keep him
from success."
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 U.S. 97, 106 (1976), reh'q denied, 429 U.S. 1066 (1977); Matthews v. United States, 750
 F.3d 1320, 1322(Fed.Cr.2MQ; Diamond v. United States, 115 Fed. Cl. 516, S24,atf d,
603 F. App'x 947 (Fed. Cir.2015), cert. denied 135 S. Ct. 1909 (201S). "However, "'[t]here
 is no duty on the part of the trial court to create a claim which [the plaintiffl has not spelled
out in his [or her] pleading.""' Lengen v. United States, 100 Fed. Cl.317,328 (2011)
(alterations in original) (quoting Scoqin v. United States,33 Fed. Ct.285,293 (1995)
(quoting Clark v. Nat'l Travelers Life Ins. Co. , 518 F .2d 1167 , 1169 (6th Cir. 1975))); see
also Bussie v. United States, 96 Fed. Cl. 89, 94, aft'd,443 F. App'x 542 (Fed. Cn.2011);
Minehan v. United states, 75 Fed. cl.249,253 (2007). "while a pro se plaintiff is held to
a less stringent standard than that of a plaintiff represented by an attorney, the pro se
plaintiff, nevertheless, bears the burden of establishing the court's jurisdiction by a
preponderance of the evidence." Riles v. United States, 93 Fed. Cl. 163, 165 (2010) (citing
Huqhes v. Rowe, 449 U.S. at g and Tavlor v. United States, 303 F.3d 1357, 1359 (Fed.
cir.) ("Plaintiff bears the burden of showing jurisdiction by a preponderance of the
evidence."), reh'o and reh'q en banc denied (Fed. Cir. 2002)); see also Shelkofskv v.
United states, '119 Fed. cl. 133, 139 (2014) ("[Mlhile the court may excuse ambiguitiel
in a pro se plaintiffs complaint, the court 'does not excuse [a complaint's] failures."'
(quoting Henke v. United States,60 F.3d 795,799 (Fed. Cir. 1995)); Harris v. United
States, 113 Fed. Cl. 290,292 (2013) ("Although plaintiffs pleadings are hetd t,o a less
stringent standard, such leniency 'with respect to mere formalities does not relieve the
burden to meet jurisdictional requirements."' (quoting Minehan v. United states, 75 Fed.
Cl. at 253).

         It is well established that "'subject-matter jurisdiction, because it involves a court's
 power to hear a case, can never be forfeited or waived."' Arbauqh v. y & H Corp., 546
 ll:9. 5001 514 (2006) (quoting United States v. Cotton, s3S U.S. 625, 630 tnOZ)).
 "[F]ederal courts have an independent obligation to ensure that they do not exceed the
 scope of their jurisdiction, and therefore they must raise and decide jurisdictional
 questions that the parties either overlook or elect not to press." Henderson ex rel.
 Henderson v. shinseki, 562 u.s. 428,434 (2011); see also Gonzalez v. Thalei, 132 s.
 cr. 641, 648 (2012) ("when a requirement goes to subject-matter jurisdiction, courts are
 obligated to consider sua sponte issues that the parties have disclaimed or have not
 presented."); Hertz Corp. v. Friend, 559 U.S. 17,94 (2010) (.Courts have an independent
 obligation to determine whether subject-matter jurisdiction exists, even when no pany
 challenges it." (citing Arbauqh v. Y & H corp., 546 u.s. ats14)); special Devices. Inc. v.
 oEA. lnc., 269 F.3d 1340,1342 (Fed. cir. 2001) ('lAl court has a outy to rnquire into its
jurisdiction to hear and decide a case." (citing Johannsen v. pav Less Druo Siores N.w..
hg.,918 F.2d 160, 161 (Fed. Cir. 1990)); View Enq'q. Inc. v. RoboticVision Sys- Inc.
 115 F.3d 962, 963 (Fed. cir. 1997) ("[c]ourts must always took to their;urisoiction,
whether the parties raise the issue or not."). "objections to a tribunal's jurisdiition can be
raised at any time, even by a party that once conceded the tribunal's subject-matter
jurisdiction over the controversy." Sebelius v. Auburn Req'l Med. ctr., 133 s. it. atz gzq
                                                                                           ,
(2013); see also Arbauqh v. Y & H corp., 546 u.s. at 506 ("The objection that a federal
court lacks subjeclmatter jurisdiction . . . may be raised by a party, or by a court on its
own initiative, at any stage in the litigation, even after trial and the entry of judgment.");
Cent. Pines Land Co.. L.L.C. v. United States, 697 F.3d 1360, 1364 n.1'(Fed. Cirr.2012\
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('An objection to a court's subject matter jurisdiction can be raised by any party or the
court at any stage of litigation, including after trial and the entry of judgment." (citing
Arbauoh v. Y & H Corp., 546 U.S. at 50G-07)); Rick's Mushroom Serv.. lnc. v. United
States, 521 F.3d 1338, 1346 (Fed. Cir. 2008) ("[A]ny party may challenge, orthe court
may raise sua sponte, subject mafter jurisdiction at any time." (citing Arbauqh v. Y & H
Corp., 546 U.S. at 506; Folden v. United States, 379 F.3d 1344,1354 (Fed. Cir.), reh'q
and reh'q en banc denied (Fed. Cn. 2004), cert. denied, 545 U.S. 1127 (2005); and
Fanninq. Phillips & Molnar v. West, 160 F.3d 717,720 (Fed. Cir. 1998))); Pikulin v. United
States,97 Fed. Cl. 71,76, aooeal dismissed, 425F. App'x 902 (Fed. Cir.201 1). In fact,
"[s]ubject matter jurisdiction is an inquiry that this court must raise sua sponfe, even where
. . . neither party has raised this issue." Metabolite Labs.. Inc. v. Lab. Corp. of Am.
Holdinqs,370 F.3d 1354, 1369 (Fed. Cir.) (citing Textile Prods., Inc. v. Mead Corp.,'134
F.3d 1481, 1485 (Fed. Cir.), reh'q denied and en banc suqqestion declined (Fed. Cir.),
cert. denied, 525 U.S. 826 (1998)), reh'o and reh'q en banc denied (Fed. Cir. 2004), cert.
qranted inpa!sub. nom Lab. Corp. of Am. Holdinqsv. Metabolite Labs.. Inc.,546 U.S.
975 (2005), cert. dismissed as improvidentlv qranted, 548 U.S. 124 (2006); see also Avid
ldentification Svs.. Inc. v. Crystal lmportCorp.,603 F.3d 967,971(Fed. Cir.) ("Thiscourt
must always determine for itself whether it has jurisdiction to hear the case before it, even
when the parties do not raise or contest the issue."), reh'q and reh'q en banc denied, 614
F.3d 1330 (Fed. Cir.2010), cert. denied, 131 S. Ct.909 (2011).

         Pursuant to the Rules of the United States Court of Federal Claims (RCFC) and
the Federal Rules of Civil Procedure, a plaintiff need only state in the complaint "a short
 and plain statement of the grounds for the court's jurisdiction," and "a short and plain
 statement of the claim showing that the pleader is entitled to relief." RCFC 8(a)(1), (2)
 (2015); Fed. R. Civ. P. 8(a)(1), (2) (2016); see also Ashcroft v. lqbal, 556 U.S. 662,677-
 78 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-57, 570 (2007)).
"Determination of jurisdiction starts with the complaint, which must be well-pleaded in that
 it must state the necessary elements of the plaintiffs claim, independent of any defense
that may be interposed." Hollev v. United States , 124 F.3d 1462, 1465 (Fed. Cir.) (citing
 Franchise Tax Bd. v. Constr. Laborers Vacation Trust, 463 U.S. 1 (1983)), reh'q denied
(Fed. Cir. 1997); see also Klamath Tribe Claims Comm. v. United States, 97 Fed. C|.203,
2OB (2011); Gonzalez-McCaullev Inv. Grp., Inc. v. United States, 93 Fed. C|.710,713
(2010). "Conclusory allegations of law and unwarranted inferences of fact do not suffice
to support a claim." Bradlev v. Chiron Corp., 136 F.3d 1317,1322 (Fed. Cir. 1998); see
also McZeal v. Sprint Nextel Corp.,501 F.3d 1354, 1363 n.9 (Fed. Ct.2007) (Dyk, J.,
concurring in part, dissenting in part) (quoting C. Wright and A. Miller, Federal Practice
and Procedure S 1286 (3d ed. 2004)). "A plaintiffs factual allegations must 'raise a right
to relief above the speculative level' and cross 'the line from conceivable to olausible."'
Three S Consultinq v. United States, 104 Fed. Cl. 510, 523 (2012) (quoting Bell Afl. Corp.
v. Twomblv, 550 U.S. at 555), aff'd, 562 F. App'x 964 (Fed. Cir.), reh'q denied (Fed. Cir.
2014). As stated in Ashcroft v. lqbal, "[a] pleading that offers'labels and conclusions' or
'a formulaic recitation of the elements of a cause of action will not do.' 550 U.S. at 555.
Nor does a complaint suffice if it tenders 'naked assertion[s]' devoid of 'further factual
enhancement."'Ashcroft v. lqbal, 556 U.S. at 678 (quoting Bell Atl. Corp. v. Twomblv,
550 U.S. at 555).
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       The Tucker Act grants jurisdiction to this court as follows:

       The United States Court of Federal Claims shall have jurisdiction to render
       judgment upon any claim against the United States founded either upon the
       Constitution, or any Act of Congress or any regulation of an executive
       department, or upon any express or implied contract with the United States
       or for liquidated or unliquidated damages in cases not sounding in tort.

28 U.S.C. $ 1a91(a)(1) (2012). As interpreted by the United States Supreme Court, the
Tucker Act waives sovereign immunity to allow jurisdiction over claims against the United
States (1) founded on an express or implied contract with the United States, (2) seeking
a refund from a prior payment made to the government, or (3) based on federal
constitutional, statutory, or regulatory law mandating compensation by the federal
government for damages sustained. See United States v. Navaio Nation, 556 U.S. 287,
289-90 (2009); United States v. Mitchell,463 U.S. 206,216 (1983); see also Greenlee
Cntv., Ariz. v. United States,487 F.3d 871,875 (Fed. Cir.), reh'q and reh'q en bancdenied
(Fed. Cir.20O7),cprl. denied,552 U.S. 1142(2008); Palmerv. United States, 168 F.3d
1310, 1314 (Fed. Cir. 1999).

        "Not every claim invoking the Constitution, a federal statute, or a regulation is
cognizable under the Tucker Act. The claim must be one for money damages against the
 United States . . . ." United States v. Mitchell, 463 U.S. at 216; see also United States v.
White Mountain Apache Tribe, 537 U.S. 465, 472 (2003); Smith v. United States, 709
F.3d 1114, 1116 (Fed. Cir.), cert. denied, 134 S. Ct. 259 (2013); RadioShack Corp. v.
United States,566 F.3d 1358, 1360 (Fed. Cir.2009); Rick's Mushroom Serv.. Inc. v.
United States, 521 F .3d at 1343 ("[P]laintiff must . . . identify a substantive source of law
that creates the right to recovery of money damages againstthe United States."); Golden
v. United States, 118 Fed. C|,764,768(2014). In Ontario PowerGeneration. lnc. v.
United States, the United States Court of Appeals for the Federal Circuit identified three
types of monetary claims for which jurisdiction is lodged in the united states court of
Federal Claims. The court wrote:

      The underlying monetary claims are of three types. . . . First, claims alleging
      the existence of a contract between the plaintiff and the government fall
      within the Tucker Act's     waiver.        Second, the Tucker Act's waiver
      encompasses claims where "the plaintiff has paid money over to the
      Government, directly or in effect, and seeks return of all or part of that sum."
      Eastport S.S. lCorp. v. United States, 178 Ct. Ct. S99, 605-06,] 3l2F.2d
      [1002,] 1007-08 [(1967)] (describing illegal exaction claims as claims ,,in
      which 'the Government has the citizen's money in its pocket"' (quoting
      Clapp v. United States,127 Ct. Cl. 505, 117 F. Supp. 576, S8O (19S4)) . . . .
      Third, the Court of Federal Claims has jurisdiction over those claims where
      "money has not been paid but the plaintiff asserts that he is nevertheless
      entitled to a payment from the treasury." Eastport S.S., 372 F.2d at 1007.
      Claims in this third category, where no payment has been made to the
      government, either directly or in effect, require that the "particular provision
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        of law relied upon grants the claimant, expressly or by implication, a right to
        be paid a certain sum." ld.; see also ]United States v. lTestan, 424 U.S.
        1392,1 401-02 [1976] ("Where the United States is the defendant and the
        plaintiff is not suing for money improperly exacted or retained, the basis of
        the federal claim-whether it be the Constitution, a statute, or a regulation-
        does not create a cause of action for money damages unless, as the Court
        of Claims has stated, that basis'in itself    .. can fairly be interpreted as
        mandating compensation by the Federal Government for the damage
        sustained."' (quoting Eastport S.S., 372 F.2d at 1009)). This category is
        commonly referred to as claims brought under a "money-mandating"
        statute.

Ontario Power Generation. Inc. v. United States, 369 F.3d 1298, '1301 (Fed. Cir. 2004);
see also Twp. of Saddle Brook v. United States, 104 Fed. Cl. 1 01, 106 (2012).

        To prove that a statute or regulation is money-mandating, a plaintiff must
 demonstrate that an independent source of substantive law relied upon "'can fairly be
 interpreted as mandating compensation by the Federal Government."' United States v.
 Navaio Nation, 556 U.S. at 290 (quoting United States v. Testan, 424 lJ.S. 392, 4OO
 (1976)); see also United States v. White Mountain Apache Tribe, 537 U.S. a|472:united
 States v. Mitchell,463 U.S. at 217; Blueport Co., LLC v. United States, 533 F.3d 1374,
 1383 (Fed. Cir. 2008), cert. denied, 555 U.S. 1153 (2009). The source of law granting
 monetary relief must be distinct from the Tucker Act itself. See United States v. Navaio
 Nation, 556 U.S. at 290 (The Tucker Act does not create "substantive rights; [it is simply
al jurisdictional provision[] that operate[s] to waive sovereign immunity for claims
premised on other sources of law (e.9., statutes or contracts)."). "'lf the statute is not
money-mandating, the Court of Federal Claims lacks jurisdiction, and the dismissal
should be for lack of subject matter jurisdiction."' Jan's Helicopter Serv.. Inc. v. Fed.
Aviation Admin., 525 F.3d 1299, '1308 (Fed. Cir. 2008) (quoting Greentee Cntv.. Ariz. v.
United States, 487 F.3d at 876); Fisher v. United States, 402 F.3d 1167, 1173 (Fed. Cir.
2005) (The absence of a money-mandating source is "fatal to the court's jurisdiction under
the TuckerAct."); Peoples v. United States, 87 Fed. Cl. 553, 565-66 (2009).

          From the complaint, it appears that plaintiff has asserted violations of his
 constitutional rights under the Fifth and Eighth Amendments to the United States
 Constitution, violations of the Civil Rights Act, and violations of the Privacy Act. Insofar as
 plaintiff alleges a violation of his rights under the Fifth Amendment to the United states
 Constitution for "late responses and/or other events presented in this complaint," the
 United States Court of Appeals for the Federal Circuit has held that this court does not
 possess jurisdiction to consider claims arising under the Due Process Clauses of the Fifth
 and Fourteenth Amendments. See Crocker v. United States, 125 F.3d 1475, 1476 (Fed.
 Cir. 1997) (citing LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir. i995)) (no
jurisdiction over a due process violation under the Fifth and Fourteenth Amendments);
see also Smith v. United States, 709 F.3d 1114, 1116 (Fed. Cir.) ("The law is well setfled
that the Due Process clauses of both the Fifth and Fourteenth Amendments do not
mandate the payment of money and thus do not provide a cause of action under the
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TuckerAct." (citing LeBlancv. United States,50 F.3d at 1028), cert. denied, 134 S. Ct.
259 (2013)); In re United States, 463 F.3d 1328, 1335 n.5 (Fed. Cir.) ("[B]ecause the Due
 Process Clause is not money-mandating, it may not provide the basis for jurisdiction
 underthe Tucker Act."), reh'q and reh'q en banc denied (Fed. Cir. 2006), cert. denied sub
 nom. Scholl v. United States, 552 U.S. 940 (2007); Acadia Tech.. Inc. & GlobalWin Tech..
 Ltd. v. United States,458 F.3d 1327,1334 (Fed. Cir.2006); Collinsv. United States,67
 F.3d 284,288 (Fed. Cir.) ("[Tjhe due process clause does not obligate the government to
pay money damages."), reh'q denied (Fed. Cir. 1995); Mullenberq v. United States, 857
 F.2d 770,773 (Fed. Cir. 1988) (finding that the Due Process clauses "do not trigger
TuckerAct jurisdiction in the courts"); Murrav v. United States,817 F.2d 1580, 1583 (Fed.
Cir. 1987) (noting that the Fifth Amendment Due Process clause does not include
language mandating the payment of money damages); Harper v. United States, 104 Fed.
Cl.287,291 n.5 (2012); Hampel v. United States, 97 Fed. Cl. 235, 238, aff d,429 F. App'x
995 (Fed. Cit.2011), cert. denied, 132 S. Ct. 'l1OS (2012); McCullouqh v. United States,
76 Fed. Cl. 1 , 4 (2006), apoeal dismissed, 236 F. App'x 615 (Fed. Cir.), reh'q denied (Fed.
Cir.), cert. denied, 552 U.S. 1050 (2007) ("[N]either the Fifth Amendment Due Process
Clause . . . nor the Privileges and lmmunities Clause provides a basis for jurisdiction in
this court because the Fifth Amendment is not a source that mandates the payment of
moneyto plaintiff."). Due process claims "must be heard in District Court." Kam-Almaz v.
United States, 96 Fed. Cl. 84, 89 (2011) (citing Acadia Tech.. Inc. & Globat Win Tech..
Ltd. v. United States,458 F.3d at 1334), affd,682 F.3d 1364 (Fed. Cir.2012); see atso
Hampel v. United States, 97 Fed. Cl. at 238. Therefore, to the extent that plaintiff is
attempting to allege violations of his Fifth Amendment rights, no such cause of action can
be brought in this court.

       Similarly, insofar as plaintiff s claims allege a violation of his rights under the Eighth
Amendment to the United States Constitution for when he was "held in a case of which
the plaintiff knows was based on false statements, where no one was hurt physically, but
had charges which if he were convicted would serve a minimum mandatory of 15 years if
convicted, this Amendment is not money-mandating and, therefore, jurisdiction to review
these claims does not lie in this court. See Trafnv v. United States, S03 F.3d 1339, 1340
(Fed. Cir. 2007) ("The Court of Federal Claims does not have jurisdiction over claims
arising under the Eighth Amendment, as the Eighth Amendment 'is not a money-
mandating provision."') (citations omitted); see also Jiron v. United States, 118 Fed. Cl.
190, 199 (2014) ("Nor does the United States Court of Federal Claims have jurisdiction
to adjudicate claims under the Fourth, Sixth, Seventh, Eighth, Ninth, and Tenth
Amendments to the United States Constitution."); Sellers v. United States, 110 Fed. Cl.
62, 66 (2013); Tasby v. United States, 91 Fed. C1.344,346 (2010) ("[T]he Eighth
Amendment prohibitions of excessive bail or fines, as well as cruel and unusual
punishment, are not money-mandating.") (citation omitted).

         To the extent plaintiff is generally trying to allege a violation of his civil rights, the
United States Court of Federal Claims lacks jurisdiction to hear claims alleging deprivation
of civil rights under color of law. See Elkins v. United States , 229 Ct. Cl. 607, 608 (1981)
("[Wle do not have jurisdiction over claims based upon alleged violations of the civil rights
laws.") (citation omitted); see also Waqstaff v. United States, 105 Fed. Cl. 99, 109 (2012);
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May v. United States, 104 Fed. Cl. 278,284 (2012), affd, 534 F. App'x 930 (Fed. Cir.
2013); Hanes v. United States,44 Fed. Cl. 441,449 (1999), affd,243 F.3d 562 (Fed.
Cir.), reh'q denied (2000); Sanders v. United States , 34 Fed. Cl. 75, 80 (1995), affd, 104
F.3d 376 (Fed. Cir.), reh'q denied, in banc suqqestion declined (Fed. Cir. 1996) (the
general civil rights claims alleged are not based on any money-mandating provisions, and
do not give rise to liability for the United States), cert. denied, 522 U.S. 831, reh'q denied,
522 U.S. 1036 (1997); Blassinqame v. United States, 33 Fed. Cl. 504, 505, affd, 73 F .3d
379 (Fed. Cir. 1995), reh'q denied (Fed. Cir.), cert. denied,517 U.S. 1237 (1996)

         Moreover, regarding plaintiff's contention that "[t]he plaintiff alleges other
 provisions of the Civil Rights Act of 1964, 42 U.S.C. g 2000a, might also be relevant, this
 court does not have subject matter jurisdiction over actions arising under sections of the
 Civil RightsActs, including 42 U.S.C. SS 1981 , 1983, 1985, 1986, and 1988. See Pikutin
 v. United States,97 Fed. CL71,77 (2011) ("Plaintiff also citesvarious provisions of the
 Civil Rights Acts, including 51981 , 51983, 91985, and 51986, as bases for his claim. The
 court does not possess jurisdiction to entertain clalms based on these statutes." (citing
 Marlin v. United States. 63 Fed. Cl.475,476 ("[T]he Courtdoes not have jurisdiction to
 consider civil rights claims brought pursuant to 42 U.S.C. SS 1981 , 1983, or 1985 because
jurisdiction over claims arising under the Civil Rights Act resides exclusively in the district
 courts.'), appeal dismissed, 14O F. App'x 256 (Fed. Cir. 2005), and Anderson v. United
 States. 22 Cl. Ct. 178, 179 n. 2 (1 990) (noting that the United States Ctaims Court lacked
jurisdiction to entertain claims under g 1983, S 1985(3), and g 1986), affd. 937 F .2d 623
 (Fed. Cir. 1991) (unpublished table decision)), apoeal dismissed , 425 F . App'x 902 (Fed.
 Cn.2O11)); Hubbard v. United States,80 Fed. Cl.282,283 (noting thatthe Civil Rights
Act encompasses 42 U.S.C. S 1988), affd, 315 F. App'x 307 (Fed. Cir. 2009); Schweitzer
v. United States, 82 Fed. Cl. 592, 595 (2008) ("Likewise, this court does not have
jurisdiction over the plaintiffs'civil rights claims brought under 42 U.S.C. SS 1983, '198S
or 1986 (2000), because it is well-settled that jurisdiction over such claims lies exclusively
in the district courts." (citing Stamps v. United States. 73 Fed. Cl. 603, 609-10 (2006)
(citing Anderson v. United States, 22 Cl. Ct. at 179)); Salman v. United States, 69 Fed.
Cl. 36, 39 n.3 (2005) ("Plaintiff has also alleged unlawful prosecution on the part of the
government, but has cited no money-mandating source of law that would afford him
compensation for this alleged behavior of the government. Inasmuch as plaintiffs
allegation might refer to the civil rights violations proscribed by 42 U.S.C. S 1983 (2000),
this court has no jurisdiction over section 1983 claims." (citing Berdick v. united States.
222 Ct. Cl. 94,612 F.2d 533, 536 (1979); Marlin v. United States. 63 Fed. Ct. at 476
(stating that this "[c]ourt does not have jurisdiction to consider civil rights claims brought
pursuant to 42 U.S.C. SS 1981, 1983, or 1985 because jurisdiction over claims arising
under the Civil Rights Act resides exclusively in the district courts") (citations omitted)).

        Likewise, this court does not have jurisdiction over plaintiff's claims under the
Privacy Act. The Privacy Act, at 5 U.S.C. g 552a(gx1) (2012), provides "the district courts
of the United States shall have jurisdiction" over civil actions concerning the relevant
statute.5 U.S.C. S 552a(gx1); seealso Rebish v. United States,l2OFed. Cl. 184, 188
(2016) ("To the extent that Mr. Rebish intended to allege that the Bureau committed
violations of the Privacy Act, jurisdiction over such a claim would lie in district court, not
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the Court of Federal Claims." (citing 5 U.S.C. S 552a(gx1))); see also Madison v. United
States, 98 Fed. Cl. 393, 395 (201 1), Treece v. United States, 96 Fed. Cl. 226,232 (2010);
Stephanatos v. United States, 81 Fed. C|.440,44445 (2008); Parker v. United States,
77 Fed. Cl. 279,291-92 (2007), afi'd,280 F. App'x 957 (Fed. Cir. 2008).


       To the extent plaintiff cites the Privacy Act because, as he alleges, "the medical
records of the plaintiff were given to attorneys of a defendant without the plaintiffs
consent, this court does not possess jurisdiction over claims that sound in tort. See 28
U.S.C. S 1491(a) ("The United States Court of Federal Claims shall have jurisdiction to
render judgment upon any claim against the United States founded either upon the
Constitution, or any Act of Congress or any regulation of an executive department, or
upon any express or implied contract with the United States, or for liquidated or
unliquidated damages in cases not sounding in tort."); see also Keene Corp. v. United
States, 508 U.S. 200, 214 (1993); Rick's Mushroom Serv.. Inc. v. United States,521 F.3d
at 1343; Alves v. United States, "133 F.3d '1454,1459 (Fed. Cir. 1998); Brown v. United
States, 105 F.3d 621, 623 (Fed. Cir.), reh'o denied (Fed. Cir. 1997); Golden Pac. Bancorp
v. United States, 15 F.3d 1066, 1070 n.8 (Fed. Cir.), reh'o denied, en banc suqqestion
declined (Fed. Cir.), cert. denied,513 U.S.961 (1994); Hampel v. United States,97 Fed.
Cl. at 238; Woodson v. United States, 89 Fed. Cl. 640, 650 (2009); McCullouoh v. United
States, 76 Fed. Cl. at 3; Aqee v. United States,72Fed. Cl.284,290 (2006); Zhenoxinq
v. United States,71 Fed. C!.732,739, affld,204 F. App'x 885 (Fed. Cir.), reh'q denied
(Fed. Cir. 2006). Therefore, to the extent any of plaintiff's claims sound in tort, those
claims must be dismissed.

       As noted above, "[t]he total amount of money the plaintiff demands for an instant
preliminary injunction is $200,000, because irrefutable evidence for violations of the
privacy Act of 1976, 5 U.S.C. 552a exist," and "[t]he plaintiff endures duress and sets forth
a demand for judgment against the United States to have a permanent injunction to not
be arrested, equivalent to diplomatic immunity. The plaintiff hopes the injunction can be
granted by ex parte order as soon as possible." The Federal Circuit has explained that
the Court of Federal Claims "does not have general equity jurisdiction to grant injunctive
relief." Shemonskv v. United States, 215 F.3d 1340 (Fed. Cir. 1999) (upholding decision
of the Court of Federal Claims that the court's jurisdiction did not extend to injunctive or
declaratory relief); see also Bank of Guam v. United States, 578 F.3d 1318, 1331 (Fed.
Cir.) reh'q and reh'q en banc denied (Fed. Cir. 2009), cert. denied, 561 U.S. 1006 (2010);
Martinez v. United States, 333 F.3d 1295, 1303 (Fed. Cir. 2003); Choate v. United States,
60 F.3d 840 (Fed. Cir. 1995) (holding that "[t]he Tucker Act does not provide a means by
which the Court of Federal Claims may grant injunctive or declaratory relief where the suit
does not involve a pre-award protest or the application of section 7 428 of the Internal
Revenue Code"). As stated by the Federal Circuit:

       The Court of Federal Claims has never been granted general authority to
       issue declaratory judgments, and to hold that the Court of Federal Claims
       may issue a declaratory judgment in this case, unrelated to any money
       claim pending before it, would effectively override Congress's decision not

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          to make the Declaratory Judgment Act applicable to the Court of Federal
          Claims.

Nat'l Air Traffic Controllers Ass'n v. United States, 160 F.3d 714,716-17 (Fed. Cir.1998);
see also United States v. Tohono O'Odham Nation, 563 U.S. 307 (2011) (The United
States Court of Federal Claims "has no general power to provide equitable relief against
the Government or its officers."). Moreover, in an action brought under 28 U.S.C.
$ 1491(a), this court can only provide declaratory or injunctive relief "as an incident of and
collateral to" a judgment for money damages. 28 U.S.C. S 1492(a)(2); see also Tavlor v.
United States, 113 Fed. Cl. 171,173 (2013) (holding that the TuckerAct does not provide
independent jurisdiction over claims for injunctive relief in contractual dispute cases). For
example, in a case brought under the Tucker Act that did not involve a pre-award protest,
once the Court of Federal Claims determined that it did not have jurisdiction to hear a
plaintiffs claims for money damages, it necessarily followed that the court did not have
authority to hear that plaintiffs claims for injunctive relief. See Kanemoto v. Reno, 41
F.3d 641,645 (Fed. Gir. 1994); see also Tavlorv. United States, 113 Fed. Ct. at 173.
Accordingly, plaintiff's demands for declaratory relief are dismissed for lack of jurisdiction.

       Finally, plaintiff did not pay the filing fee, nor did he file a motion to proceed in
forma pauperis. Plaintiff may have realized that a motion to proceed in forma pauperis
may not have been successful, as a 2016 decision in the District Court for the District of
Montana concluded, "Caldwell has failed to provide sufficient financial information, his
Complaint is frivolous, and venue is improper. The motions to proceed in forma pauperis
should therefore be denied and this matter dismissed." Caldwell v. United States, Case
No. 15-132, Dkt. 1 1 (D. Mont. Jan. 26, 2016).4 Before plaintiff may file suit again in this


a   Plaintiff refers to this decision in hls complaint before this court indicating that:

         The plaintiff has knowledge of a notice being "dismissed", although it was
         typed .Notice of Genocide" on page 2 of document 11 of case # 1:i5-cv-
         00132-SPW-CSO of the United States District Court for the District of
         Montana. The plaintiff does not know how there is justice in dismissing the
         Notice of Genocide". The plaintiff has an African-American relative that died
         in the later part of February 2016 (breathing problems), after Notice of
         Genocide was not granted. The plaintiff suffers from breathing problems
         himself.

The court notes that, in addition to the District court of Montana case. five other case
plaintiff filed in federal court have been dismissed. see caldwell v. Bonneville cntv.,
Case No.4:13-cv-00004 (D. ldaho Oct. 11,2013) (dismissing amended complaintwith
prejudice as frivolous and for failure to state a claim); Caldwell v. post Co., Case No.
4:12-cv-00621 (D. ldaho Aug. 12, 2019); Caldwell v. Sessions, Case ruo. a:12-cv-00635
(D. ldaho June 7, 2013); Caldwell v. Post Co., Case No. 4:12-cv-00596 (D. ldaho Feb.
14,2013); Caldwell v. ldaho, Case No. 4:09-cv-00561 (D. tdaho June 3, 2010), dismissed
(9th Cir. Sept. 8, 2010), cert. denied (U.S. Oct. 11, 2011). Additionaily, ptaintiff has a
                                                 11
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court, plaintiff shall pay the filing fee for this case or any other case, or file a proper motion
to proceed in forma pauperis.

                                        CONCLUSION

       For the foregoing reasons, plaintiffs complaint is DISMISSED. The Clerk of the
Court shall enter JUDGMENT consistent with this Order.


       IT IS SO ORDERED.

                                                          -   .          f4^ ,{/
                                                              MARIAN BLANK HORN
                                                                      Judge




pending suit in the United States District Court for the Northern District of lllinois, filed on
December 18,2015, See Caldwell v. United States, Case No. 15-11444 (N.D. lll. Dec.
18,2015),
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